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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. ____________-CIV-___________/____________



  MARIO ANIBAL RIVERA, on behalf of himself
  and others similarly situated,

         Plaintiff,

         v.

  SUPERIOR RESTORATION & CLEANING SERVICES, INC.,
  a Florida Corporation, and AHARON ATZMI, individually,

        Defendants.
  __________________________________________/

                                           COMPLAINT

         Plaintiff, MARIO ANIBAL RIVERA, on behalf of himself and similarly situated

  employees, sues the Defendants, SUPERIOR RESTORATION & CLEANING SERVICES, INC.,

  a Florida Corporation (hereinafter referred to as “SUPERIOR”) and AHARON ATZMI, an

  individual (hereinafter referred to as “ATZMI”) and states as follows:


                                         JURISDICTION

         1.      This is an action for damages being brought pursuant to the Fair Labor Standards

  Act of 1938, as amended, 29 U.S.C. §§201-209 (hereinafter “FLSA”) and other relief including

  violations of 29 U.S.C. §215, violations of 26 U.S.C. §7434, violations of the Florida Unfair and

  Deceptive Trade Practices Act (FUDTPA), Florida Statutes §501.204 et seq., and violations of the

  Florida Whistleblower Act, F.S. §448.102 et seq.

         2.      Jurisdiction is conferred on this Court by 29 U.S.C. §216(b), 26 U.S.C. §7434 and

  28 U.S.C. §1337 & §1367(a).



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          3.     All of the events, or a substantial part of the events, giving rise to this action,

  occurred in Broward County, Florida, within the jurisdiction of the United States District Court

  for the Southern District of Florida, Fort Lauderdale Division.

          4.     Plaintiff, MARIO ANIBAL RIVERA (hereinafter referred to as “Plaintiff”), is an

  individual residing in Broward County, Florida and all times material hereto was an employee of

  SUPERIOR performing the job duties as a mover and driver for Defendant’s restoration company.

          5.     At all times material to this Complaint, Defendants, SUPERIOR and ATZMI, have

  owned and operated a moving, and property restoration company serving customers throughout

  the State of Florida, with a principal place of business located at 3640 NW 118th Ave, Coral

  Springs, Florida 33065 in Broward County, within the jurisdiction of this Court.

          6.     At all times material hereto, Defendants were doing business in the State of Florida

  and have regularly engaged in activities that involve interstate commerce or that are specifically

  covered by the FLSA. Moreover, at all times material hereto, the Defendant, SUPERIOR, had

  annual gross sales or business in an amount not less than $500,000. By reason of the foregoing,

  the Defendant, SUPERIOR, was and is an “employer” within the meaning of Section 3(d) of the

  FLSA.

          7.     Defendant, ATZMI, has at all times material to this Complaint owned and managed

  SUPERIOR, and Defendant ATZMI, has regularly exercised the authority to hire and fire

  employees including Plaintiff, determined the manner in which Plaintiff and other employees were

  compensated, determined how Plaintiff and other employees’ hours worked were tracked or

  recorded, set the rates of pay of Plaintiff and other employees, and/or controlled the finances and

  day-to-day management operations of SUPERIOR. By virtue of such control and authority,

  Defendant ATZMI is an employer of Plaintiff and the other employees of SUPERIOR similarly




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  situated to Plaintiff as defined by the FLSA, 29 U.S.C. §203(d).

          8.      On many occasions throughout his employment for Defendant, SUPERIOR,

  Plaintiff worked in excess of forty (40) hours per week and was not paid overtime.

          9.      During the time that Plaintiff had been employed at SUPERIOR, he and other

  similarly situated employees were improperly classified as independent contractors rather than as

  employees. In addition, Defendants wrongfully issued and filed with the IRS 1099’s so that

  SUPERIOR and ATZMI could attempt to avoid complying with Federal and State laws, including,

  but not limited to, the failure to pay Federal payroll taxes and State unemployment, taxes.

          10.     As to Plaintiff and all similarly situated employees, SUPERIOR and ATZMI, (a)

  dictated the days and hours that they worked; (b) provided all tools that they needed to perform

  their work; (c) required them to work from Defendants’ facilities and go to Defendants’ customer’s

  homes; and (d) dictated and directed, supervised and managed them in all work that they did and

  otherwise acted as their employer.

          11.     Plaintiff’s primary duties as a “Mover and Driver” consisted of the following non-

  exempt tasks: (a) transport Defendants’ employees to and from the work sites; (b) collect and

  dispose of all the trash from the work site to the city waste facility or ATZMI’s home; (c) pick up

  any materials necessary for the day’s work at ATZMI’s house or vendor warehouse; (d) wrap and

  package all personal items and furniture at Defendants’ customers’ property; and (e) deliver

  Defendants’ customers’ personal property and furniture from their home to storage.

          12.     Plaintiff has retained the undersigned law firm in this matter and has agreed to pay

  it a reasonable fee for its services.

          13.     Plaintiff has complied with all conditions precedent to the filing of this action

  and/or same have been waived or excused by Defendants.




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               COUNT I – RECOVERY OF OVERTIME COMPENSATION (FLSA)

         14.     The Plaintiff reasserts and realleges the allegations contained in paragraphs (1)

  through thirteen (13) as if more fully set forth herein.

         15.     For purpose of this claim, Plaintiff and all similarly situated individuals were

  employees mischaracterized as independent contractors of SUPERIOR when they were in fact

  employees as defined by the FLSA.

         16.     At all times relevant, the Defendants were otherwise charged with the responsibility

  of paying wages to Plaintiff and all similarly situated individuals.

         17.     Defendants are employers as defined by the Fair Labor Standards Act.

         18.     The Plaintiff brings this action on his own behalf and on behalf of all similarly

  situated individuals to recover overtime compensation or other relief as guaranteed them under the

  Fair Labor Standards act, as amended, 29 U.S.C. §216(b).

         19.     Plaintiff and all similarly situated individuals were all non-exempt hourly paid

  employees of Defendants wrongfully classified as independent contractors employed as laborers

  and particularly movers and drivers for Defendants’ restoration and moving business. Some of

  the preliminary job duties conducted by Plaintiff were to (a) transport Defendants’ employees from

  each one of their respective homes to the Defendants’ customers’ property every morning and back

  to their homes at the end of the day; (b) travel to ATZMI’s home and Defendants’ vendors

  warehouses to pick up any materials needed for the day’s work; (c ) travel to ATZMI’s home or

  the city waste facility to dump out the trash from the days’ assignment. Plaintiff and similarly

  situated employees also had to (a) collect and dispose of all the trash from the work site to the city

  waste facility or ATZMI’s home; (b) pick up any materials necessary for the day’s work at

  ATZMI’s house or vendor warehouse; (c) wrap and package all personal items and furniture at




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  Defendants’ customers’ property; and (d) deliver Defendants’ customers’ personal property and

  furniture from their home to storage.

         20.     This action is brought to recover from Defendants overtime compensation,

  liquidated damages, and costs and reasonable attorney’s fees under the provisions of Title 29

  U.S.C. §216 (“the Act”).

         21.     Despite the record keeping requirements of the FLSA, 29 C.F.R. §§516.2, 516.6,

  Defendants failed to maintain records of all the actual start times, actual stop times, actual hours

  worked each day, and total hours actually worked each week by Plaintiff and other similarly

  situated “Movers and Drivers” for Defendants for each and every work week during the three (3)

  year statute of limitations period between July 2016 and the present.

         22.     Defendants paid Plaintiff $20.00 per hour for regular hours worked and $30.00 per

  hour for some hours worked in excess of Forty (40) hours of work per week. Plaintiff is owed

  between Twelve (12) and Eighteen (18) unpaid overtime hours per week from Defendants, at

  Plaintiff’s overtime hourly rate of $30.00 per hour, on approximately Forty-Four (44) work weeks

  within the three (3) year statute of limitations between approximately March 2018 and March

  2019. Plaintiff’s unpaid overtime wages total approximately between $15,840.00 [12 Unpaid OT

  hours/week x $30.00/hour x 44 weeks = $15,840.00] and $23,760 [18 Unpaid OT hours/week x

  $30.00/hour x 44 weeks = $23,760.00].

         23.     At all times material to this Complaint, Defendants had knowledge of the hours

  worked by Plaintiff and other similarly situated “Movers and Drivers” in excess of Forty (40) hours

  per week between July 2016 and the present, but Defendants nonetheless willfully failed to

  compensate Plaintiff and the others similarly situated to him at time and one-half their applicable

  regular rates of pay for all of their overtime hours worked for Defendants, with Defendants instead




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  accepting the benefits of the work performed by Plaintiff and the other “Movers and Drivers”

  without paying the time and one-half overtime compensation required by the FLSA, 29 U.S.C.

  §207.

          24.    Some of the time keeping records and the complete records reflecting the

  compensation paid by Defendants to Plaintiff and all other similarly situated “Movers and

  Drivers,” however variously titled, between July 2016 and the present are in the possession,

  custody, and/or control of Defendants.

          25.    Plaintiff is entitled to be paid time and one-half of his applicable regular rate of pay

  for each hour he worked for Defendants as a non-exempt employee in excess of Forty (40) hours

  per work week during the three (3) year statute of limitations period between approximately March

  2018 and March 2019.

          26.    All similarly situated “Movers and Drivers,” however variously titled, of

  Defendants are also entitled to be paid time and one-half of their applicable regular rates of pay

  for each and every overtime hour they worked for Defendants at any location but were not properly

  compensated for working on Defendants’ behalf during any work weeks within the three (3) year

  statute of limitations period between July 2016 and the present.

          27.    Defendants have knowingly and willfully failed to pay Plaintiff and the other

  “Movers and Drivers,” however variously titled, similarly situated to him at time and one-half of

  their applicable regular rates of pay for all hours worked for Defendants in excess of Forty (40)

  per week between July 2016 and the present.

          28.    At all times material to this Complaint, Defendants had constructive and actual

  notice as of approximately March 2018 and again in February 2019, when Plaintiff complained to

  ATZMI regarding Defendants’ failure to credit Plaintiff for all hours worked prior to his scheduled




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  start time, spent transporting other employees, picking up materials and throwing out the trash, as

  a result of which Defendants’ compensation practices did not provide Plaintiff and other “Movers

  and Drivers,” however variously titled, with time and one-half wages for all of their actual

  overtime hours worked between July 2016 and the present based upon, inter alia, Defendants

  knowingly failing to pay time and one-half wages for all of the actual hours worked in excess of

  Forty (40) hours per week by Plaintiff and other similarly situated “Movers and Drivers”, and

  instead failing to pay time and one-half wages for all the overtime hours that Defendants knew

  have been worked for the benefit of Defendants.

         29.     By reason of the said intentional, willful and unlawful acts of Defendants, all

  Plaintiffs (the named Plaintiff and those similarly situated to him) have suffered damages plus

  incurring costs and reasonable attorneys’ fees.

         30.     As a result of Defendants’ violations of the Act, Plaintiff and all similarly situated

  employees are entitled to liquidated damages.

         31.     Plaintiff has retained the undersigned counsel to represent him in this action, and

  pursuant to 29 U.S.C. §216(b), Plaintiff is entitled to recover from Defendants all reasonable

  attorneys’ fees and costs incurred as a result of Defendants’ violations of the FLSA.

         WHEREFORE, Plaintiff, MARIO ANIBAL RIVERA and any current or former

  employees similarly situated to him who join this action as Opt-In Plaintiffs, demand judgment

  against Defendants, jointly and severally, SUPERIOR RESTORATION & CLEANING

  SERVICES, INC., and AHARON ATZMI, for the payment of all unpaid overtime compensation,

  liquidated damages, reasonable attorneys’ fees and costs of suit, and for all proper relief including

  prejudgment interest.




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                                 COUNT II – DECLARATORY RELIEF

          32.     The Plaintiff restates and realleges the allegations contained in paragraphs one (1)

  through thirteen (13) above as if more fully set forth herein.

          33.     Defendants contend that Plaintiff was an independent contractor.

          34.     There is a bona fide, actual and present need for declaratory relief between the

  parties. Plaintiff contends that he has been improperly classified as an independent contractor

  when in fact he was an employee.

          35.     Plaintiff seeks a declaration concerning a present, ascertained or ascertainable state

  of facts and in particular a declaration of whether he was an independent contractor or employee.

          36.     An immunity, power, privilege or right of Plaintiff is dependent upon the facts or

  law applicable to the facts.

          37.     Plaintiff has, or is reasonably expected to have, an actual, present, adverse and

  antagonistic interest in the subject matter, either in fact or law.

          38.     The antagonistic and/or adverse interests are before this Court by proper process.

          39.     The relief sought is not merely for giving of legal advice.

          40.     WHEREFORE, MARIO ANIBAL RIVERA demands declaratory judgment and

  requests damages, together with interest and court costs, and for any and all other and further relief

  this Court deems just and proper under the circumstances.

                           COUNT III – VIOLATIONS OF 26 USC §7434

          41.     Plaintiff readopts and realleges the allegations contained in paragraphs one (1)

  through thirteen (13) above as if more fully set forth herein.

          42.     At all times material hereto, Plaintiff was an “employee” of Defendants and as such

  should have been issued a W-2 for all wages paid to Plaintiff.




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            43.    In addition, because Plaintiff was an employee, Defendants were required to

  withhold taxes and remit same in accordance with federal law.

            44.    Despite the foregoing, SUPERIOR and ATZMI, issued Plaintiff an IRS Form 1099

  for tax year 2018 with the full knowledge that they were issuing and filing fraudulent information

  returns

            45.    Based upon the foregoing, Defendants have violated 26 U.S.C. 7424 by willfully

  filing fraudulent information returns.

            46.    Defendants acts of knowingly and willfully filing fraudulent information returns

  resulted in harm to Plaintiff, and Plaintiff is entitled to damages, as well as attorney’s fees and

  costs for the violations of 26 U.S.C. 7424.

            WHEREFORE, Plaintiff, MARIO ANIBAL RIVERA, demands judgment against

  Defendants, jointly and severally, SUPERIOR RESTORATION & CLEANING SERVICES,

  INC., and AHARON ATZMI, for damages, attorneys’ fees, and costs pursuant to 26 U.S.C. §7434.

                  COUNT IV – VIOLATIONS OF THE FLORIDA’S DECEPTIVE
                          AND UNFAIR TRADE PRACTICES ACT

            47.    The Plaintiff realleges and readopts the allegations contained in paragraphs one (1)

  through thirteen (13) as if more fully set forth herein.

            48.    Florida’s Deceptive and Unfair Trade Practices Act (FDUTPA) makes it unlawful

  to engage in “[u]nfair methods of competition, unconscionable acts or practices, and unfair or

  deceptive acts or practices in the conduct of any trade or commerce.” F.S. §501.204.

            49.    The actions of Defendants of knowingly and willfully misclassifying Plaintiff and

  similarly situated employees as an independent contractor and thus avoiding payment of all

  required taxes and insurance premiums and required overtime are unfair and/or deceptive practices

  which are unethical and substantially injurious to Plaintiff and other employees, in violation of



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  F.S. §501.204.

         50.       As a direct and proximate result of Defendants’ unfair and/or deceptive practices

  of willfully mischaracterizing Plaintiff as an independent contractor, Plaintiff has suffered

  damages.

         51.       Pursuant to F.S. §501.211(2), Plaintiff is entitled to recover from Defendants

  damages plus his attorneys’ fees and costs.

         WHEREFORE, Plaintiff, MARIO ANIBAL RIVERA, demands judgment against

  Defendants, jointly and severally, SUPERIOR RESTORATION & CLEANING SERVICES,

  INC., and AHARON ATZMI, for damages, attorneys’ fees, and costs pursuant to F.S. §501.211.

                             COUNT V- VIOLATION OF 29 U.S.C. §215

         52.       The Plaintiff realleges and readopts the allegations contained in paragraphs one (1)

  through thirteen (13) above as if more fully set forth herein.

         53.       Plaintiff began working for Defendants in or about March 2018 as a “mover” and

  “driver” for Defendants’ restoration business.

         54.       At all times material hereto, Plaintiff qualified as an employee under the law and

  not as an independent contractor because:

                   (a) Plaintiff worked on a full-time, permanent basis carrying out non-
                       exempt duties as a Driver and Mover in Defendants’ moving and
                       restoration business each week;
                   (b) Defendants determined the hours Plaintiff was required to work and set
                       Plaintiff’s weekly scheduled;
                   (c) Defendants provided Plaintiff with the tools and supplies needed to
                       perform his job duties;
                   (d) Plaintiff was wholly dependent on Defendants for earning his
                       livelihood;
                   (e) Plaintiff did not share in the profit or loss of Defendants;
                   (f) Defendants were not dependent upon any managerial skill of Plaintiff;
                   (g) Defendants exercised direct and extensive control over the manner in
                       which and times at which Plaintiff was required to perform work each
                       day for Defendants;



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                 (h) the duties Plaintiff carried out for Defendants on a daily basis did not
                     require specialized skills by Plaintiff; and
                 (i) Plaintiff’s driver and mover duties for Defendants were an integral part
                     of Defendants’ moving and restoration business.

           55.   Throughout his entire span of employment, between approximately March 2018

  and March 2019, Defendants paid Plaintiff an hourly rate of $20.00/hour and Defendants

  knowingly and willfully did not deduct any of the statutorily required withholdings from Plaintiff’s

  wages.

           56.   Defendants also did no keep accurate time records and did not pay Plaintiff for all

  hours he worked.

           57.   Plaintiff regularly worked for Defendants in the position known as “Mover and

  Driver” as many as six (6) days per week with varying start times, beginning as early as 6:00 a.m.

  – 6:30 a.m. and ending as late as 8:00 p.m. to 10:00 p.m.

           58.   Plaintiff was often required to perform preliminary and postliminary duties such as:

  (a) transporting Defendants’ employees from each one of their respective homes to the Defendants’

  customers’ property every morning and back to their homes at the end of the day; (b) traveling to

  ATZMI’s home and Defendants’ vendors warehouses to pick up any materials needed for the day’s

  work; and (c ) travel to ATZMI’s home or the city waste facility to dump out the trash from the

  days’ assignment

           59.   Depending on the assigned work site, Plaintiff regularly worked an average of

  sixty-seven (67) to seventy-three (73) hours per week.

           60.   Although Defendants regularly paid Plaintiff an hourly rate of $20.00 per hour,

  Defendants would also occasionally pay Plaintiff $30.00 per hour for some of the overtime hours

  worked by Plaintiff.




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           61.   Defendants routinely failed to pay Plaintiff for the hours spent on preliminary and

  postliminary work.

           62.   In approximately February 2018, Plaintiff objected to Defendants’ failure to credit

  Plaintiff all hours worked performing preliminary and postliminary duties.

           63.   After he objected, Defendants began paying Plaintiff for some, but not all of the

  additional hours worked.

           64.   In or about February 2019, Plaintiff received a Form 1099 from Defendants and not

  a W-2.

           65.   Plaintiff objected to not being given a W-2 and for not being credited and paid for

  all hours he worked. As a result of which Defendants began paying some of the hours worked by

  Plaintiff in performing those duties beginning February 2018 until Plaintiff’s termination in March

  2019.

           66.   After Plaintiff objected to Defendants violation of the FLSA, Plaintiff was fired

  from his employment.

           67.   Prior to being terminated, Defendants did not have any complaints regarding

  Plaintiff’s job performance.

           68.   Defendants retaliated against Plaintiff for complaining about violations of the

  FLSA.

           69.   Defendants actions of terminating Plaintiff for objecting to illegal wage and hour

  practices is a violation of 29 U.S.C. 215.

           70.   As a direct and proximate result of Defendants’ violation of 29 U.S.C. 215, Plaintiff

  has suffered damages.




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         71.        Pursuant to 29 U.S.C. 215, Plaintiff is entitled to recover his damages and attorney’s

  fees and costs.

         WHEREFORE, Plaintiff, MARIO ANIBAL RIVERA, demands judgment against

  Defendants, jointly and severally, SUPERIOR RESTORATION & CLEANING SERVICES,

  INC., and AHARON ATZMI, for back pay, employment benefits and other compensation

  including bonuses, compensatory damages, punitive damages, emotional distress, equitable relief,

  including, but not limited to, reinstatement or front pay, interest, attorneys’ fees, costs and such

  other and further relief as this Honorable Court deems proper.

    COUNT VI - VIOLATION OF FLORIDA’S WHISTLEBLOWER ACT, F.S. §448.102

         72.        Plaintiff realleges and readopts the allegations contained in paragraphs one (1)

  through thirteen (13) above, as if more fully set forth herein.

         73.        At all times material to this Complaint between March 2018 and March 2019,

  Plaintiff was an employee of SUPERIOR and ATZMI within the meaning of F.S. §448.101(2).

         74.        At all times material to this Complaint, SUPERIOR and ATZMI have been engaged

  in an industry affecting commerce and have had ten (10) or more employees for each working day

  in each of twenty (20) or more weeks in the current or preceding calendar year.

         75.        At all times material to this Complaint, SUPERIOR and ATZMI were employers

  of Plaintiff within the meaning of F.S. §448.101(3).

         76.        Under Florida’s Whistleblower Act, F.S. §448.102, an employer may not take any

  retaliatory personnel action against an employee because the employee has:

                    (1) Disclosed, or threatened to disclose, to any appropriate
                    governmental agency, under oath, in writing, an activity, policy, or
                    practice of the employer that is in violation of a law, rule, or
                    regulation. However, this subsection does not apply unless the
                    employee has, in writing, brought the activity, policy, or practice to
                    the attention of a supervisor or the employer and has afforded the



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                 employer a reasonable opportunity to correct the activity, policy, or
                 practice.

                 (2) Provided information to, or testified before, any appropriate
                 governmental agency, person, or entity conducting an investigation,
                 hearing, or inquiry into an alleged violation of a law, rule, or
                 regulation by the employer.

                 (3) Objected to, or refused to participate in, any activity, policy, or
                 practice of the employer which is in violation of a law, rule, or
                 regulation.

         77.     In or around March 2018 and again in February 2019, Plaintiff objected to

   Defendants’ practices in failing to compensate Plaintiff for all hours worked in performing

   preliminary and postliminary duties. In February 2019, Plaintiff also objected to Defendants’

   misclassifying Plaintiff as an independent contractor and issuing him an IRS 1099 Form

   containing the incorrect amount of wages earned for 2018.

         78.     Plaintiff in good faith believed Defendants’ practices in misclassifying Plaintiff as

   an independent contractor, and not withholding applicable taxes was illegal, in addition to failing

   to provide Plaintiff a 1099 IRS form reflecting the total amount of wages paid to Plaintiff in 2018,

   such that in or around mid-February 2019, when Defendants issued Plaintiff an incorrect 1099

   IRS Form, Plaintiff complained to ATZMI about Plaintiff’s 1099 IRS form reflecting total wages

   earned of $14,777.03, an amount lesser than that which Plaintiff was paid in the year 2018. See

   Exhibit “A,” Plaintiff’s 1099 IRS form.

         79.     In response, ATZMI advised Plaintiff that Defendants could not report all the wages

   earned by Plaintiff, but he would discuss it further with his accountant. ATZMI also commented

   Plaintiff being the only person complaining about a 1099 reflecting less wages than those earned.

   Nevertheless, following this exchange, Plaintiff’s 1099 IRS form was never corrected.




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         80.     On March 7, 2019, Plaintiff and Defendants’ other employees were assigned to

  work at one of Defendants’ customer’s property in Jacksonville, Florida property. While at the

  Jacksonville property, Plaintiff was performing his duties in packing and moving Defendants’

  customer’s personal property. During that same time, Plaintiff observed some of the other

  employees and Defendant ATZMI smoking marijuana. Plaintiff complained and objected to

  continuing to work with employees under the influence of drugs.

         81.     However, ATZMI responded to Plaintiff’s objections with “don’t worry about it,

  it’s not your business.”

         82.     After working all day on March 7, 2019, Plaintiff and the other employees

  completed their assignment in Jacksonville, Florida. They traveled back to Pompano Beach,

  Florida at approximately 2:00 a.m. on March 8, 2019 in. a rented Suburban being driven by

  ATZMI. While ATZMI was driving the vehicle on Interstate 95, ATZMI was wearing dark shades

  covering his bloodshot eyes and swerving on the highway. Plaintiff again objected to ATZMI

  driving while under the influence of drugs.

         83.     When they returned on the morning of March 8, 2019, Defendant ATZMI dropped

  off Plaintiff at Plaintiff’s home in Pompano Beach, Florida. ATZMI then instructed Plaintiff to

  get Defendant’s van, which had been left at Plaintiff’s home, because there was a job that needed

  to be done that day. ATZMI also instructed Plaintiff to pick-up materials at ATZMI’s home.

         84.     Plaintiff went to ATZMI’s home as instructed and Plaintiff and ATZMI got into an

  argument about Plaintiff’s complaints that employees, including ATZMI, were using marijuana

  and that ATZMI had been driving under the influence.

         85.     Following the argument, ATZMI summarily fired Plaintiff from his job.

         86.     At all times material hereto, Plaintiff engaged in protected activity within the




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  meaning of Florida’s Whistleblower Act, F.S. §448.102(3) when he objected to the illegal practices

  related to his compensation and to the drug usage.

         87.     On March 8, 2019, Defendants subjected Plaintiff to “retaliatory personnel action”

  within the meaning of Florida’s Whistleblower Act, F.S. §448.101(5) when they fired Plaintiff

  because of Plaintiff’s objections about Defendants’ failure to compensate Plaintiff for all hours

  worked, the misclassification and issuance of an incorrect IRS 1099 form for 2018 and Plaintiff’s

  objection to work and travel with other employees and Defendant ATZMI driving while under the

  influence of drugs, all in violation of F.S. §448.102(3).

         88.     Plaintiff reasonably and in good faith believed that: (a) Defendants’ failure to

  compensate Plaintiff for all hours worked performing preliminary and postliminary duties; (b)

  Defendants’ misclassification of Plaintiff as an independent contractor and failure to withhold

  applicable taxes and make tax contribution payments required by Federal and Florida law with

  subsequently issuing Plaintiff an incorrect IRS 1099 Form reflecting less wages than what which

  Defendant paid Plaintiff; and (c) working with and traveling with employees and specifically

  Defendant ATZMI driving while under the influence of drugs, were violations of a “law, rule, or

  regulation” within the meaning of Florida’s Whistleblower Act, F.S. §448.101(4).

         89.     The fact that Plaintiff engaged in activity protected by Florida’s Whistleblower Act

  was a motivating factor in Defendants’ “retaliatory personnel action” against Plaintiff and the

  termination of Plaintiff’s employment, in violation of F.S. §448.102(3).

         90.     Defendants’ violations of F.S. §448.102 were willful, egregious and in direct

  violation of the statutory protections expressly set forth in Florida’s Whistleblower Act.

         91.     Plaintiff has suffered and continues to suffer lost earnings, emotional distress, loss

  of self-esteem and other injuries as a direct result of Defendants’ violations of F.S. §448.102.




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         92.     Pursuant to F.S. §448.104, Plaintiff is entitled to recover his reasonable attorneys’

  fees and costs from Defendants under Count VI of this Complaint.

         WHEREFORE, Plaintiff, MARIO ANIBAL RIVERA, demands judgment against

  Defendants, jointly and severally, SUPERIOR RESTORATION & CLEANING SERVICES,

  INC., and AHARON ATZMI, for back pay, employment benefits and other compensation

  including bonuses, compensatory damages, punitive damages, emotional distress, equitable relief,

  including, but not limited to, reinstatement or front pay, interest, attorneys’ fees, costs and such

  other and further relief as this Honorable Court deems proper.



                                      JURY TRIAL DEMAND

         Plaintiff demands trial by jury on all issues so triable.


  Dated: July 10, 2019                          Respectfully submitted,

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